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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:                                                          Case No. 25-30895

Afnan Mohammed Husain,                                          Chapter 7


                Debtor.


                       ORDER FOR APPEARANCE AT MEDIATION


         1.     Mediation in the following matters: Motion to Compel; Motion to Convert Case

from Chapter 7 to Chapter 11; and Emergency Motion to Enforce Automatic Stay, Compel

Immediate Turnover, and Sanction for Willful Violation will be held on April 30, 2025 at 9:00

a.m. in Courtroom 8 West, 8th Floor, 300 S 4th St, Minneapolis before Judge William J. Fisher.

The parties shall appear and negotiate in good faith. Counsel and their clients must plan on being

available the entire day of this mediation.

         2.    The following parties shall appear at the mediation: (1) Afnan Mohammed Husain,

pro se; (2) Sarah Wencil for the U.S. Trustee; and (3) An authorized representative for Bridgecrest

Credit Company, LLC as Servicer and AgenW for Carvana LLC and counsel Orin Kipp. All party

representatives shall be armed with full settlement authority and discretion. In all cases, the

party representative should not be in-house counsel directing the litigation. This means that

each party must attend through a person who has the power to change that party’s settlement

posture during the course of the mediation. If the party representative has a limit, or “cap” on

his or her authority, this requirement is not satisfied. Similarly, if the party representative

must contact another person for approval prior to agreeing to a settlement, this requirement

is not satisfied. Any failure to comply with the spirit of this directive will constitute a violation of
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Fed. R. Civ. P. 16(f) (incorporated by Fed. R. Bankr. P. 7016).

        3.      Each party shall submit to the undersigned on or before April 23, 2025,

a confidential mediation statement, of not more than two pages, setting forth: (1) a brief history of

the parties’ prior attempts to settle the case and their respective settlement positions; (2) a

computation of the amount in dispute; (3) a reasoned analysis justifying their client’s last stated

settlement position, including their assessment of their best and worst alternatives to a negotiated

agreement; (4) a description of any perceived hindrances or obstacles to productive settlement

negotiations as well as any other information that may be helpful to the Court; and (5) the name

and position of each person who will attend the mediation. The mediation statements are for the

Court’s use only and need not be served on opposing counsel and should not be filed or docketed.

Counsel shall e-mail their confidential mediation statements to chambers at the following address:

wjfchambers@mnb.uscourts.gov.

        4.      Bridgecrest Credit Company, LLC shall provide a 7007.1 Corporate Ownership

Statement to wjfchambers@mnb.uscourts.gov on or before April 23, 2025.

        5.      The mediation will be conducted in a confidential manner. I will not disclose any

information learned by me at the mediation to the judge assigned to preside over this matter on its

merits. I will maintain the full confidentiality of all information obtained in private, unless

authorized by any party to make disclosure of the information to the other party.

        6.      The parties are advised that after receipt of the mediation statements the Court may,

in its discretion, contact counsel for the parties jointly or ex parte solely for the purpose of assisting

the Court’s preparation for the mediation.

        7.      Mediation is a compromise negotiation for the purposes of the federal and state

rules of evidence. It constitutes a privileged communication under state law. The entire mediation



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process is confidential. No stenographic, visual, or audio record will be made, except for the record

of appearances made at the beginning of the mediation, and of any settlement that is placed on the

record. All conduct, statements, promises, offers, views, and opinions, whether oral or written,

made in the course of mediation by any party, their agents, employees, representatives, or other

invitees, or by the mediator are confidential. All such shall be deemed to be privileged, in addition

and where appropriate. Such content shall not be the subject of future discovery, and will not be

admissible for any purpose, including impeachment, in any litigation or other proceeding involving

the parties. They shall not be disclosed to anyone not an agent, employee, expert, witness, or

representative of any of the parties. The only exception shall be that evidence otherwise

discoverable or admissible is not excluded from future discovery or admission as a result of its use

in the mediation. The undersigned shall not be called as a witness by any party in any matter related

to this proceeding.

       8.      As mediator, I may evaluate legal or factual claims and speculate as to possible

outcomes. However, the parties must understand and agree that I am not giving legal advice. The

parties must only rely on the legal advice of their attorney.

       9.      Parties may seek a transcript of any agreement that is placed on the record. The

transcript will not be placed on the docket.

       10.     The parties and their counsel are free to wear comfortable and casual clothing.

       11.     Failure of any party or counsel to comply with any part of this Order may result in

the postponement of the mediation and/or imposition of an appropriate sanction on the party,

company, or attorney who failed to comply.

       12.       The Mediating Judge is being appointed because of a judicial position as, and to

act in the specific capacity as, a United States Bankruptcy Judge. By serving as a mediating judge,



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the Mediating Judge performs judicial duties. See, e.g., 28 U.S.C. § 651; Fed. R. Civ. P. 16(a)(5),

(c)(2)(I); Fed. R. Bankr. P. 7016; Local Rule 9019-2; Code of Conduct for United States Judges,

Canon 3(A)(4)(d). As such, the Mediating Judge and all persons assisting the Mediating Judge

will have full, unqualified judicial immunity, as well as all other privileges, immunities, and

protections of a United States Bankruptcy Judge and judiciary employees, regarding any matters

arising from or related to the Mediating Judge’s role as mediating judge.



                                              BY THE COURT:

                                                 V:LOOLDP-)LVKHU
Dated: April 15, 2025
                                              William J. Fisher
                                              United States Bankruptcy Judge




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                                                                United States Bankruptcy Court
                                                                     District of Minnesota
In re:                                                                                                                   Case No. 25-30895-KAC
Afnan Mohammed Husain                                                                                                    Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0864-3                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 16, 2025                                                 Form ID: pdf111                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 18, 2025:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
db                      + Email/PDF: afnan.husain25@gmail.com
                                                                                          Apr 16 2025 22:11:00      Afnan Mohammed Husain, PO Box 4272,
                                                                                                                    Mankato, MN 56002-4272

TOTAL: 1


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 18, 2025                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 15, 2025 at the address(es) listed below:
Name                                Email Address
Michael S. Dietz
                                    mdietztee@outlook.com mn06@ecfcbis.com

Michael S. Dietz
                                    on behalf of Trustee Michael S. Dietz mdietztee@outlook.com mn06@ecfcbis.com

Orin J. Kipp
                                    on behalf of Interested Party Bridgecrest Credit Company LLC as Servicer and Agent for Carvana LLC okipp@wgcmn.com,
                                    dkbenson@wgcmn.com;jockwig@wgcmn.com;dmckinnon@wgcmn.com

Sarah J Wencil
                                    on behalf of U.S. Trustee US Trustee Sarah.J.Wencil@usdoj.gov

US Trustee
                                    ustpregion12.mn.ecf@usdoj.gov
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Date Rcvd: Apr 16, 2025                     Form ID: pdf111                           Total Noticed: 1
TOTAL: 5
